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AG ytikev O84) Criminal Comptaint
UNITED STATES DISTRICT COURT
tor the

Southern District of bP torida

United States of America
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Mahali Benjamin Case No. 20-6230-AOV

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Detendant
CRIMINAL COMPLAINT

I. the complainant in this case. state that the following ty truc to the best or my knowledge and belief.

On or about the date(sa of 7/31/2018 to 6160/2026 mi the county of _ Broward. in the

Southern Districtot = Florida . the defendant(s; violated:
Code Section Offense Description
Title 18, United States Code, Possession of child pornography.

Sections 2252(a)(4)(B) and (b)(2)

Title 18, United States Code, Distribution of child pornography
Sections 2252(a)(2) and (bi(1)

This criminal complaint is based on these facts:

¥ Continued on the attached sheet.
Tf

Copydauiuaa \ signature

Lauren Darden, SAFBE

Printed name and uile
Sworn in ms presence by Video.

June 10, 2020

Date: BS
Judge's sienature
City and state: Fort Lauderdale. Florida Alicia O. Valle _ U.S. Magistrate Judge
Printed name and Ute

 

 
 

 

 

 

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AFFIDAVIT

I, Lauren Darden, a Special Agent (SA) with the Federal Bureau of Investigation (FBI) being
duly swom, hereby depose and state as follows:

INTRODUCTION AND AGENT BACKGROUND

I. | have been a SA with the FBI since March 2019. Iam currently assigned to the FBI
Miami Child Exploitation and Human Trafficking Taskforce. In this capacity, I am responsible for
conducting criminal investigations of statutes contained in Title 18 of the United States Code,
including crimes related to child pornography and the sexual exploitation of children.

2. I have participated in investigations of persons suspected of violating federal child
pornography laws, including Title 18, United States Code, Sections 2251, 2252 and 2252A. These
investigations have included the use of surveillance techniques, the interviewing of subjects and
witnesses, and the planning and execution of arrest, search, and seizure warrants. In the course of
these investigations, I have reviewed still images and videos containing child pornography and
images depicting minor children engaged in sexually explicit conduct on various forms of electronic
media including computers and wireless telephones and have discussed and reviewed these materials
with other law enforcement officers. Prior to my employment as a Special Agent, I was employed by
the North Carolina State Bureau of Investigation Alcohol Law Enforcement Branch as a Special
Agent from April 2015- March 2019. As such, I investigated crimes concerning alcohol related
violations, controlled substances, gambling, and tobacco related investigations.

3. This Affidavit is submitted in support of a criminal complaint which charges Mahali
Benjamin (herein after referred to as BENJAMIN) with possession and distribution of visual

depictions of minors engaged in sexually explicit conduct, in violation of Title 18, United States

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Code, Section 2252(a)(4)(B) and (b)(2) and Title 18, United States Code, Section 2252(a)(2) and
(b)(1) .

4. The information set forth in this affidavit comes from my personal involvement in
this investigation, as well as from information provided to me by other law enforcement officers and
people with knowledge of the case. This affidavit does not represent every fact law enforcement
knows about this investigation but is submitted for the limited purpose of establishing probable cause
for the issuance of the criminal complaint against BENJAMIN for the aforementioned criminal
violations.

SUMMARY OF THE INVESTIGATION

5. BENJAMIN resides at 935 NE 33™ ST, Oakland Park, FL 33334 (the “Residence”).
On June 2, 2020, a federal search warrant was obtained directing law enforcement to search the
Residence. The search warrant was obtained based on probable cause to believe that there had been a
violation of Title 18, United States Code, Section 2252(a)(4)(B) and (b)(2), and Title 18, United
States code, Section 2252(a)(2) and (b)(1) and that evidence of said violations existed at the
Residence.

6. On June 10, 2020, law enforcement executed the federal search warrant at the
Residence and seized, among other things, an iBuypower desktop computer with serial number
01163167309087.

7. Present during the search of the residence was BENJAMIN. BENJAMIN was
interviewed and waived his Miranda rights. BENJAMIN admitted that he had been downloading
child pornography from the Internet and viewing it on the aforementioned computer. BENJAMIN

stated that he stored child pornography on the aforementioned computer. BENJAMIN further

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admitted to sending other individuals child pornography while chatting with them on the Internet.
The chats and the files he distributed to others were found on his computer.
8. The following files were located on the hard disk from the aforementioned computer
and are described as follows:
a. Bandicam 2018-07-31 01-12-05-057 ava.avi. This video depicted a prepubescent
female being anally penetrated by an adult male. This file was distributed by the
Defendant on July 31, 2018.
b. Bandicam 2018-12-02 23-02-46-849 ava.avi. This video depicted multiple
prepubescent females performing oral sex on adult males. This file was distributed by the
Defendant on December 2, 2018.
c. Bandicam 2019-01-24 01-56-07-983.avi. This video depicted a prepubescent female

inserting an object into her vagina. This file was distributed by the Defendant on January

24, 2019.
Conclusion
9. Based on the aforementioned factual information, I respectfully submit that there is

probable cause to support the arrest of Mahali BENJAMIN for possession and distribution of visual

depictions of minors engaged in sexually explicit conduct, in violation of Title 18, United States

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Code, Section 2252(a)(4)(B) and (b)(2) and Title 18, United States Code, Section 2252(a)(2) and

(b)(1).

FURTHER SAYETH YOUR AFFIANT NAUGHT.

Yoo

Lauren Darden
Special Agent
Federal Bureau of Investigation

 

Subscribed and sworn to before me
this 10th day of June, 2020

HONORABLE ALICIA O. VALLE
UNITED STATES MAGISTRATE JUDGE

 

 
 

 

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NUMBER:

 

BOND RECOMMENDATION

DEFENDANT: Benjamin Mahali

Pre-Trial Detention recommended
(Personal Surety) (Corporate Surety) (Cash) (Pre-Trial Detention)

By: Wt. Catharune Asonty

 

AUSA:  M. Catherine Koontz

Last Known Address:

 

 

 

What Facility:

 

 

Agent(s): Lauren Darden SA FBI
(FBI) (SECRET SERVICE) (DEA) (IRS) (ICE) (QTHER)

 
